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      In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                   No. 20-0187V


GARY ALLEN,                                    Chief Special Master Corcoran

                    Petitioner,
v.                                             Filed: February 12, 2021

SECRETARY OF HEALTH AND
HUMAN SERVICES,

                   Respondent.


                 ORDER STRIKING - SPECIAL PROCESSING UNIT

      On September 11, 2020, Petitioner filed medical records from Albertson’s
Pharmacy as Exhibit 12 (ECF No. 19). Upon review, the record already contains a
document designated Exhibit 12. Thus, the second document labeled Ex. 12 is stricken
and should be re-filed with the next sequential exhibit number, i.e., Ex. 13.

      Accordingly:

      •    The Clerk is directed to STRIKE Petitioner’s September 11, 2020 filing
           labeled Exhibit 12 (ECF No. 19).

      •    Petitioner shall re-file, by no later than Friday, February 26, 2021, the
           Albertson’s record labeled with the next sequential exhibit number, i.e.,
           Ex. 13, and a corrected exhibit list.

      Any questions about this order or about this case may be directed to OSM staff
attorney Eileen Vachher at (202) 357-6388 or Eileen_Vachher@cfc.uscourts.gov.

IT IS SO ORDERED.

                                             s/Brian H. Corcoran
                                             Brian H. Corcoran
                                             Chief Special Master
